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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF LOUISIANA
                         ALEXANDRIA DIVISION

 RAVI KUMAR, Petitioner                 CIVIL DOCKET NO. 1:20-CV-00971-P

 VERSUS                                 JUDGE DAVID C. JOSEPH

 WARDEN, ET AL, Respondents             MAGISTRATE JUDGE JOSEPH H.L.
                                        PEREZ-MONTES


                                JUDGMENT

      For the reasons stated in the Report and Recommendation of the Magistrate

Judge previously filed herein (ECF No. 6), noting the absence of objection thereto,

and concurring with the Magistrate Judge’s findings under the applicable law;

      IT IS ORDERED that the Petition for Writ of Habeas Corpus (ECF No. 1) is

hereby DISMISSED WITHOUT PREJUDICE pursuant to Rule 41(b) of the Federal

Rules of Civil Procedure.

      THUS DONE AND SIGNED in Chambers, this 19th day of October, 2020.



                                      _____________________________________
                                      DAVID C. JOSEPH
                                      UNITED STATES DISTRICT JUDGE
